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                                                                          USDC SDNY
UNITED STATES DISTRICT COURT                                              DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                             ELECTRONICALLY FILED
                                                                          DOC #:
 MATTHEW MCDERMOTT,                                                       DATE FILED: 1/11/2021
                                 Plaintiff,
                                                                    1:19-cv-02012-MKV
                          -against-
                                                                          ORDER
 BIERMAN APPAREL CORP.,

                                 Defendant.

MARY KAY VYSKOCIL, United States District Judge:

          This action was filed on March 9, 2019. After Defendant was served but never appeared,

Plaintiff filed a motion for a default judgment [ECF No. 20]. The Court subsequently referred the

Motion to Magistrate Judge Kevin N. Fox for a report and recommendation [ECF No. 25]. On

October 13, 2020, Magistrate Judge Fox issued a Report and Recommendation [ECF No. 27]

which recommended that the Court deny Plaintiff’s Motion without prejudice to renewal. Shortly

thereafter, Plaintiff filed a second motion for a default judgment [ECF No. 28]. Plaintiff never

submitted anything in response to Magistrate Judge Fox’s report and recommendation.

          For the avoidance of doubt, IT IS HEREBY ORDERED that, pursuant to Federal Rule of

Civil Procedure 72(b), the Court adopts the reasoning set forth in Magistrate Judge Fox’s October

13 Report and Recommendation. Plaintiff’s first Motion for a Default Judgment [ECF No. 20]

is DENIED WITHOUT PREJUDICE. Plaintiff’s second motion will be considered in due

course.

          The Clerk of Court respectfully is requested to close the motion at ECF No. 20.

SO ORDERED.
                                                      _________________________________
Date: January 11, 2021                                MARY KAY VYSKOCIL
      New York, NY                                    United States District Judge
